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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF LOUISIANA


IN RE: OIL SPILL BY                       CIVIL ACTION NO. 10-8888
“DEEPWATER HORIZON”
                                          SECTION J

                                          MAGISTRATE 1


                      MEMORANDUM IN SUPPORT OF
                         MOTION TO WITHDRAW


      NOW INTO COURT, through undersigned counsel, comes DAVID C.

JARRELL who respectfully submits the following Memorandum in Support of the

Opposed Motion to Withdraw:

      DAVID C. JARRELL was previously employed by the LAW OFFICES OF

SIDNEY D. TORRES, III, A.P.L.C. As part of his duties while so employed,

DAVID C. JARRELL filed a Short Form Joinder on behalf of TAMMANY

HOLDING COMPANY, L.L.C.             On July 1, 2011, DAVID C. JARRELL

voluntarily terminated his employment with the LAW OFFICES OF SIDNEY D.

TORRES, III, A.P.L.C.     Since July 1, 2011, DAVID C. JARRELL has not

represented TAMMANY HOLDING COMPANY, L.L.C.

      Despite numerous requests, the LAW OFFICES OF SIDNEY D. TORRES,

III, A.P.L.C. has refused to consent to the withdrawal of DAVID C. JARRELL as

counsel of record for TAMMANY HOLDING COMPANY, L.L.C.

      DAVID C. JARRELL no longer represents TAMMANY HOLDING

COMPANY, L.L.C. in these proceedings and desires to be withdrawn as counsel

of record. Sidney D. Torres, III and Roberta L. Burns, both of whom are currently

enrolled as counsel of record, will continue to represent TAMMANY HOLDING
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COMPANY, L.L.C.

     As of the filing of this motion, there are no pending deadlines or court

appearances to notify TAMMANY HOLDING COMPANY, L.L.C. of. A copy of

this Motion to Withdraw has been forwarded to plaintiff TAMMANY HOLDING

COMPANY, L.L.C. via U.S. Certified mail at its last known address as well as to

counsel for TAMMANY HOLDING COMPANY, L.L.C. the LAW OFFICES OF

SIDNEY D. TORRES, III, A.P.L.C.



                             Respectfully submitted,

                              LAW OFFICES OF DAVID C. JARRELL
                              A PROFESSIONAL LAW CORPORATION



                              BY: /s/ David C. Jarrell
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                               CERTIFICATE OF SERVICE

       I hereby certify that on the 5th day of April, 2012, I electronically filed the

foregoing with the Clerk of Court by using the CM/ECF system, which will send a notice

of electronic filing to all counsel registered for electronic service. I further certify that I

have served a copy of the foregoing pleading on all parties to this proceeding not

registered for electronic service, by e-mailing, faxing, and/or mailing the same by United

States mail, properly addressed and first class postage prepaid.


/s/ David C. Jarrell
DAVID C. JARRELL
